         Case 1:23-cr-00237-CJN Document 176 Filed 09/03/24 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
        v.                                        )
                                                  )   Criminal No. 23-cr-00237-CJN
 JAY JAMES JOHNSTON,                              )
                                                  )
                Defendant.                        )
                                                  )

                          MOTION TO CONTINUE SENTENCING

       Defendant Jay James Johnston, by and through undersigned counsel, and pursuant to Rule

45(b)(1) of the Federal Rules of Criminal Procedure, respectively requests this Court continue the

date set for sentencing Mr. Johnston. Mr. Johnston’s sentencing is scheduled before this Court on

October 7, 2024, at 10:00 AM, with the government’s sentencing memoranda due on September

30, 2024, and sentencing memoranda from the defense due on October 3, 2024. Minute Entry

(July 8, 2024). To accommodate the U.S. Probation Officer’s completion of a Presentence

Investigation Report, Mr. Johnston respectfully requests a 30-day continuance of the same until

November 6, 2024, or a date thereafter that is convenient to the Court, with the deadline within

which to submit sentencing memoranda extended accordingly. Counsel for Mr. Johnston has

conferred with the government, who oppose this request.

       On June 17, 2024, Mr. Johnston entered into a plea agreement with the government in

which he agreed to plead guilty to obstructing officers during a civil disorder in violation of

18 U.S.C. § 231(a)(3), Count One of the Indictment, in which he agreed to stipulate to the facts as

represented in the accompanying statement of offense. See Plea Agreement (July 8, 2024)

(ECF No. 160); Statement of Offense (July 8, 2024) (ECF No. 161). A subsequent hearing on Mr.
         Case 1:23-cr-00237-CJN Document 176 Filed 09/03/24 Page 2 of 3




Johnston’s plea agreement was held July 8, 2024, in which he plead guilty to Count One of the

Indictment. Minute Entry (July 8, 2024).

       Pursuant to 18 U.S.C. § 3552, Federal Rule of Criminal Procedure 32, and Rule 32.2 of the

Rules of the United States District Court for the District of Columbia, a U.S. Probation Officer

“must conduct a presentence investigation and submit a report to the court before it imposes

sentence.” Fed. R. Crim. P. 32(c)(1). To aid the drafting of their presentence investigation report,

the U.S. Probation Officer is permitted to interview the defendant. Fed. R. Crim. P. 32(c)(2).

Should the probation officer seek to interview the defendant as a part of their presentence

investigation, the officer, “must, on request, give the defendant’s attorney notice and a reasonable

opportunity to attend the interview.” Id.

       Although efforts were made to schedule Mr. Johnston’s presentence investigation interview

during the month of August, the vacation schedules of defense counsel and Supervisory U.S.

Probation Officer assigned to Mr. Johnston’s case conflicted and the interview could not be

conducted. Mr. Johnston’s interview has subsequently been scheduled for later today, September

3, 2024. Consequently, the Probation Officer has requested that Mr. Johnston seek a continuance

of his sentencing to provide sufficient time for the Presentence Investigation Report to be

completed. Specifically, the Supervisory U.S. Probation Officer requests, “a 30-day continuance

from the currently scheduled sentencing hearing . . . to give [the assigned Probation Officer]

enough time to complete the interview, request verifications, and do any follow-up work.”

                                            CONCLUSION

       For the foregoing reasons, Mr. Johnston respectfully requests the Court continue Mr.

Johnston’s sentencing hearing by 30-days, until November 6, 2024, or a date thereafter that is




                                                 2
         Case 1:23-cr-00237-CJN Document 176 Filed 09/03/24 Page 3 of 3




convenient for the Court, with the deadlines for the parties corresponding sentencing memoranda

extended accordingly.




Dated: September 3, 2024                          Respectfully submitted,

                                                   s/ Stanley E. Woodward, Jr.
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                                                  Counsel for Defendant Jay James Johnston


                                  CERTIFICATE OF SERVICE

        On September 3, 2024, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification to all parties of record.



                                                 s/ Stanley E. Woodward, Jr.
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